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                                                                                  U.S. DISTRICT COURT
                                                                              EASTERN Df6iRICT     ANSAS


                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS     JAMES
                                     EASTERN DIVISION          By:_-=,~¥-..L!:::~'.fl:J~-
KENNETH DEWAYNE IVY                                                      PLAINTIFF

vs.                                    NO. 3:15-CV-166-DPM

UNION PACIFIC RAILROAD                                                   DEFENDANT/THIRD-
COMPANY                                                                  PARTY PLAINTIFF

vs.
RICELAND FOODS, INC.                                                     THIRD-PARTY
                                                                         DEFENDANT


            THIRD-PARTY COMPLAINT AGAINST RICELAND FOODS, INC.


       COMES NOW, Union Pacific Railroad Company ("Union Pacific"), and for its Third-

Party Complaint, states:

       I.        PARTIES AND JURISDICTION.

        1.       Kenneth Ivy ("Plaintiff') is an individual residing in and domiciled in Thornton,

Colorado.

       2.        Union Pacific ("Third-Party Plaintiff') 1s a Delaware corporation with its

principal place of business in Nebraska.

       2.        Riceland Foods, Inc. ("Riceland" or "Third-Party Defendant") is an Arkansas

corporation with its principal place of business in Stuttgart, Arkansas.      Riceland also does

business in Craighead County, Arkansas. Riceland was the employer of Plaintiff at the time of

Plaintiffs injury.

       3.        This Court has subject matter jurisdiction over this Complaint and personal

jurisdiction over Riceland. Venue is proper.
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        II.     FACTUAL ALLEGATIONS.

        4.      Third-Party Plaintiff Union Pacific restates and re-alleges each allegation made

above as if set forth fully herein.

        5.      On June 16, 2015, Plaintiff Kenneth Ivy brought the Original Complaint against

Union Pacific, alleging negligence and liability under the Federal Employers Liability Act

("FELA") arising out of an accident occurring on November 20, 2013.

        6.      As alleged by Ivy, he working as a Riceland Track Mobile Operator on November

20, 2013 in the Riceland rail yard property located at or around 216 G Street, Jonesboro,

Arkansas. (Original Complaint, iii! 13-18)

        7.      As alleged by Ivy, he was "the victim of an accident involving a train car in which

he lost or severely damages three of his four limbs and lost large amounts of skin from his

torso." (Original Complaint, ifl 7)

        8.      Specifically, on November 20, 2013, Ivy and a fellow Riceland employee were

engaged in the switching of rail cars. They were utilizing a track mobile, owned or leased to

Riceland, to switch the rail cars. Ivy or another Riceland employee had set railcar UP 93785 out

onto a Riceland track that was on an incline. UP 93785 began to roll down the track. Ivy tried to

set the handbrake as the car was rolling, and tripped in the process.

        III.    CONTRACTUAL INDEMNITY OWED BY RICELAND.

        9.      Third-Party Plaintiff Union Pacific restates and re-alleges each allegation made

above as if set forth fully herein.

        10.     Union Pacific and Riceland's predecessors-in-interest entered into an Agreement

dated September 30, 1977, covering the maintenance and operation of the tracks at the Riceland




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property in Jonesboro.       See Exhibit 1, attached hereto.     This Agreement applies to the

relationship between Union Pacific and Riceland.

        11.     Section 16 of the Agreement provides, in part:

                        ... Industry [Riceland] shall indemnify, protect, and save
                harmless Railroad from and against all loss, damages, cost, and
                expense and consequence of death of or injury to persons,
                whomsoever. . . in any manner caused by, resulting from, or
                incidental to the existence, maintenance, use or operation of engine
                or track mobile, or the movement by industry, its agents, servants
                or employees, of any car or cars on track, or Industry's failure to
                place and keep engine and track mobile as hereinabove provided,
                or by reason of Industry's failure to set the brakes or block the
                wheels of any car or cars after movement thereof by Industry, its
                agents, servants or employees regardless of the negligence of the
                Railroad.

        12.     Riceland has accepted the indemnity of Union Pacific without reservations.

Union Pacific is entitled to indemnity and contribution from Riceland, and to have a judgment to

that effect.


          CAUSE OF ACTION: ALLOCATION OF FAULT (APPORTIONMENT) AND
                             CONTRIBUTION.


        13.     Third-Party Plaintiff Union Pacific restates and re-alleges each allegation made

above as if set forth fully herein.

        14.     The General Assembly for the State of Arkansas has enacted Act 1116, entitled

"An Act to Clarify the Meaning of the Uniform Contribution Among Tortfeasors Act; and For

Other Purposes." Act 1116 is now in the law of the State of Arkansas and applies to this action.

Section 8 of Act 1116 of 2013. The Civil Justice Reform Act of 2003 (Act 649) also applies to

this action.




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        15.     Third Party Defendant Riceland, Inc. is a joint tortfeasor for the purposes of the

right of allocation of fault, or "contribution" as defined by Act 1116. Union Pacific has the right

to add Third Party Defendant Riceland as a party to this matter for purposes of the right of

allocation of fault. The negligence, fault, and responsibility of Third Party Defendant Riceland

must be determined and apportioned so that the several liability of Union Pacific can be

determined.

        16.     While continuing to deny that Union Pacific engaged in any negligence conduct

with respect to the November 20, 2013 accident, and while continuing to deny any liability

arising from such accident, Union Pacific asserts that it is entitled to contribution and/or

allocation of fault from Riceland.

        17.     Riceland was negligent in the following regards:

                A.      by violating the General Duty Clause of Occupational Safety and Health

Act ("OSHA"), which provides that "[ e]ach employer shall furnish to each of his employees

employment and a place of employment which are free from recognized hazards that are likely to

cause death or serious physical harm to his employees .... " 29 U.S.C. § 654;

                B.      by failing to adequately train Ivy and other employees;

                C.      by failing to employ safe work practices;

                D.      by failing to provide and require use of personal protective equipment,

such as a flashlight;

                E.      by otherwise failing to provide a safe place to work;

                F.      by violating Arkansas Code Annotated Section 11-2-117 (a), which

provides that "[e]very employer shall furnish employment that is safe for the employees therein




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and shall furnish and use safety devices and safeguards. The employer shall adopt and use

methods and processes reasonably adequate to render such an employment and place of

employment safe and shall do every other thing reasonably necessary to protect the life, health,

safety, and welfare of the employees";

        g.      by violating the Arkansas Department of Labor Basis Safety Manual, including

but not limited to the following violations:

                   i.   Failure to train and instruct the workers;

                  11.   Failure to have careful safety-minded supervision;

                 111.   Failure to insure orderly procedure and use of safe methods of operation;

                 1v.    Failure to have proper and adequate personal protective equipment;

                  v.    Failure to practice good housekeeping; and

                 vi.    Failure to have adequate and proper illumination.

        18.     Union Pacific is thus entitled to have Riceland on the verdict form so that the jury

can determine the allocation of fault of the parties so that the several liability of Union Pacific, if

any, can be determined.

                                           JURY DEMAND

        19.     Union Pacific demands ajury trial for all appropriate issues.

        WHEREFORE, PREMISES                CONSIDERED, Union Pacific Railroad               Company

respectfully requests an allocation of fault by the jury for third Party Defendant Ricleand, Inc.,

for its attorneys' fees and costs, and for all other relief to which it is entitled.




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                                            Respectfully submitted,

                                            James C. Baker, Jr., #86009
                                            Jamie Huffman Jones, #2003125
                                            FRIDAY, ELDREDGE & CLARK, LLP
                                            400 West Capitol Avenue
                                            Suite 2000
                                            Little Rock, Arkansas 72201-3522
                                            (501) 370-1430 - Telephone
                                            (501) 244-5340 - Facsimile
                                            baker@fridayfirm.com - Email
                                            jjones@fridayfirm.com - Email
                                            Attorneys for Defendant Union Pacific Railroad
                                            Company




                                CERTIFICATE OF


        I, Jamie Huffman Jones, hereby certify that a copy of the foregoing has been served upon
the following counsel ofrecord on this 4th day of May, 2016:

Josh Sanford                                       Jason T. Brown
Christopher Burks                                  Michael G. Radigan
Sanford Law Firm, PLLC                             JTB Law Group, LLC
650 S. Shackleford, Suite 411                      155 Second Street, Suite 4
Little Rock, AR 72211                              Jersey City, NJ 07302
josh@sanfordlawfirm.com                            jtb@jtblawgroup.com
chris@sanfordlawfirm.com                           michaelradigan@jtblawgroup.com

Lawrence Mann
Alper & Mann, P.C.
9205 Redwood Avenue
Bethesda, MD 20817
lm.mann@verizon.net




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                                                                                                                             EXHIBIT 1
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                                                                                         It
                                                                                                '


                                         THIS AGREEMENT,                 made this                    of

                            ~ , 197 z, by and between ST. LOUIS
                            SOUTHWESTERN RAlLWAY COMPANY ("Cotton Belt 11 ), a corporation,

                            and ST. LOUJS - SAN FRANC.lSCO RAILWAY COMPANY ( 11 Frisco"),

                            a corporation, hereinafter collectively called "Railroad",                and

                            ARKANSAS RICE GROWERS COOPERATIVE ASSOCIATION, a corporation,

                            d/b/a Riceland Foods,           P. O. Box 681,     Stuttgart, Arkansas 72160,

                            hereinafter called 11 Industry 11 ;

                                             RECITAI.S:

                                             The parties hereto desire to evidence their Wlder-
                                             standings and agreements with respect to the mainte-
                                             nance and operation of industrial track facilities,
                                             hereinafter called "Track", described as follows:

                                             Tracks, approximately Zl, 653 feet in length, at or
                                             near Jonesboro Station, County of Craighead, State
                                             of Arkansas, illustrated on the map attached and
                                             hereby made a part hereof, marked Exhibit 11 A 11 •

                                         NOW, THEREFORE, in consideration of the agreements herein-

                            after contained to be kept and performed by the parties hereto, it is

                            mutually agreed that said Track shall be maintained and operated under

                            the following terms, covenants, and conditions:

                                      I. The term "Track" as used herein shall designate the plural
                            number if there is more than one track, and shall include all appurtenances
                            thereof, consisting of rail and fastenings. switches and frogs complete,
                            bumpers, ties, ballast, roadbed, embankment, trestles, culverts, and
                            any other structures and things necessary for the support of and entering
                            into the construction of said Track, and if said Track, or any portion thereof,
                            is located in a thoroughfare, said term "Track'' shall include pavements,
                            culverts, drainage facilities, and all other work required by lawful authority
                            or agreed to by Industry in connection with the construction, renewal,
                            n1.aintenance, and operation of said Track.




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                                      2•• Industry will secure and furnish, at its expense, all necessary
                            franchises and permits and right-of-way beyond the premises of Railroad
                            .!or the maintenance of said Track and for the operation of locomotives,
                            motors, trains, and cars thereon and thereover, except in the event that
                            any public body from which it is necessary to obtain franchises or perm.its
                            shall require that the application be made by Railroad, then application
                            therefor shall be made by Railroad on behalf of Industry. In the event
                            Railroad applies for and secures said franchises or perm.its, Industry
                            expressly agrees to pay any and all expenses incurred by Railroad in
                            obtaining said franchises or permits, and all sums which may be expended
                            at any time or times by Railroad under the provisions of liaid franchises
                            or permits.

                                     3. The tracks shown on the attached print between points A and B,
                            points B and C, and points D and E are the subject of that certain agreement
                            between Cotton Belt and Industry dated September 1, 1963 (Cotton Belt's
                            Document Audit No. T-7050). Said agreement is hereby terminated as of
                            the date hereof insofar as it covers the two tracks shown by mauve lines
                            between points A and B, but will continue in full force and effect 1nsofar as
                            it covers the two wicolored tracks between points B and C, and points D and E
                            (which are shown by green lines on the print attached to said agreement and
                            measure 926. 4 feet in total length).

                                           That other agreement between Cotton Belt and Industry dated
                            October 22, 19 64, which supplements said agreement dated September 1, 1963,
                            and. provides for third party use by Jonesboro Grain Drying Cooperative of
                            Industry's tracks, is hereby terminated as of the date hereof.

                                          The track shown between points F and G is the subject of that
                            certain agreement between Cotton Belt and Jonesboro Warehouse Industries,
                            Inc., dated April 15, 1955 (Cotton Belt's Docum.ent Audit No. T-7065), as
                            supplemented on September 30, 1957, and July 13, 1960, and as amended by
                            letters dated November 28, 1962, and February 28, 19 69. Industry hereby
                            warrants that it is now the lawful owner of all the right, title, and interest
                            formerly of Jonesboro Warehouse Industries, Inc., in and to said track and
                            agreement. Said basic, supplemental, and letter agreements dated April 15,
                            1955, September 30, 1957, July 13, 1960, November 28, 1962, and Febru-
                            ary 28, 1969, are hereby terminated as 0£ the date hereof.

                                          The track shown between points H an~ I is the subject 0£ that
                            certain agreement between Cotton Belt and Jonesboro Grain Drying Cooperative
                            dated May 23, 1969 (Cotton Belt 1 s Document Audit No. T-7068). Industry
                            hereby warrants that it is now the lawful owner of all the right, title, and




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                                                                                         - -        I   T



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                              interest for?Ij.erly of Jonesboro Grain Drying Cooperative in and to said
                              track and agreement dated May 23, 1969; said agreement is hereby ter-
                              n1ina ted as of the date hereof.

                                      4. Cotton Belt owns and, at its expense, shall maintain the tracks
                              shown by solid red lines (hereinafter collectively termed "solid red tracks"),
                              measuring approximately 4, 701. 4 feet in total length.

                                           Frisco owns and, at its expense, shall maintain the tracks
                              shown by orange lines (hereinafter collectively termed "orange track"),
                              measuring approximately Z, 396. 2 feet in total length.  '

                                             Cotton Belt and Frisco jointly own and, at their joint expense,
                              shall maintain the tracks shown by dashed red lines (hereinafter collectively
                              termed 11 dashed red track"), measuring approximately 992. 7 feet in total
                              length.

                                              Industry owns and, at its expense and to the satisfaction of
                              Railroad, shall maintain the tracks shown by mauve lines {hereinafter
                              collectively termed 11mauve track"), measuring approximately 8, 470. 5 feet
                              in total length.

                                       5. Part of the mauve track is new, approximately 6, 321 feet in
                              length. Industry, at its expense and to the satisfaction of Railroad, shall
                              arrange for the construction of said new trackage (including 3 turnouts) and
                              the adjustment of existing utilities.

                                        6. Industry will grant to Railroad, without charge and concurrently
                              with the execution of this agreement, an easement satisfactory to Railroad
                              for railroad, transportation, and communication purposes over, across, and
                              along the right-of-way underlying the dashed red track, the orange track,
                              and the 626-foot and 534 -foot solid red tracks. Upon request of Railroad,
                              Industry will furnish a legal description of said right-of-way, and will execute
                              all instruments to evidence such easement.

                                       7. Cotton Belt a.lone shall serve Industry 1 s so-called 11 0ld Mill"
                              site and Frisco alone shall serve Industry's so-call~d "Old Delta" warehouses.
                              Cotton ~elt and Frisco will jointly serve the 11 New Mill 11 trackage.

                                       8. Cotton Belt and Frisco shall, between themselves, enter into
                              a separate agreement covering the operation of the solid red track, orange
                              track, and dashed red track, and their joint service to Industry.




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                                     - - ---·---      ---..:.....;.;...:====---=--=;o;;;;;"";;;,,;;;;liiiiiiiiiiiiiiiiiiiiiillll____......... __ ................ .
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          ,,                              9. pubject to the next succeeding paragraph, Railroad may, but
                                shall not be obligated to, maintain any segment of Industry's portion of said
                                Track located on Railroad's land and/or any automatic warning devices.

                                              Industry, upon request of Railroad and before any work to
                                be' done hereunder by Railroad at the expense of Industry is commenced,
                                shall deposit with Railroad the estimated cost of said work. If the actual
                                cost thereof shall prove more or less than said deposit, the difference shall
                                be promptly paid by Industry or refunded by Railroad, as the case may be.
                                If Railroad shall perform any work hereunder which Industry is obligated
                                to pedorm or pay for without first obtaining deposit from.1Industry, Industry
                                agrees to pay Railroad the cost of said work promptly upon receipt of bills
                                therefor.

                                              Prior to performing any work on Railroad's premises, Industry
                              shall give Railroad's Division Engineer five (S) days' written notice, and,
                              upon request, provide Railroad with certified copy of insurance policies in
                            . form and amounts satisfactory to Railroad, insuring Industry's and Railroad's
                              liability for any bodily injury or property damage sustained in connection
                              therewith. Said insurance shall be subject to termination only upon ten (10)
                              days 1 written notice to Railroad. Any contractor performing any of such
                              work for Industry shall be required by Industry to execute Railroad's standard
                              fo"L"m of contractor's right of entry permit before corrunencing such work.

                                               In the event Industry desires, at any time prior to the termina-
                                tion of this agreement, to construct additional trackage extending or diverging
                                from its portion of said Track, the construction of such additional trackage
                                shall be in accordance with plans and specifications which shall be subject to
                                the prior approval of Railroad. Unless otherwise agreed.upon, such additional
                                trackage shall form part of said Track.

                                        10. Notwithstanding the provisions of Section 9 hereof, all material
                                on said Track furnished at the expense of Railroad and not paid for by Industry,
                                whether in original construction or by way of replacements or repairs, shall
                                be and remain the exclusive property of Railroad. In the event said Track is
                                disconnected, or upon termination of this agreement, Railroad may recover
                                from the land of Industry all the material owned by Railroad, and bidustry,
                                provided no default shall then exist as to any covenants or agreements to be
                                kept and performed by Industry, may recover all material owned by Industry
                                and located on land of Railroad; provided, however, that Railroad, at its
                                option, may perform at the sole cost and expense of Industry all work of
                                dismantling, taking up, and removing all material owned by Industry and
                                located on land of Railroad, and of placing the land in its original condition.
                                H said Track, or any portion thereof, is located in a thoroughfare, Industry




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                      will pay the cost of removing all material owned by Industry and restoring
                      the thoroughfare to good condition, satisfactory to the proper lawful authority.
                      Notwithstanding anything to the contrary herein contained, Railroad shall
                      have the right at any time to purchase at its then value any or all material
                      in said Track owned by Industry and not located on land of Industry.

                              11. Railroad agrees to operate said Track for the purpose of serving
                      Industry, unless prevented due to labor dispute or any cause beyond the control
                      of Railroad, subject to any lawful charges that may be made by Railroad for
                      such services. Railroad shall have the right to use said Track when not to
                      the detriment of Industry. If said Track is an extension oi. or diverges from
                      trackage not owned by Railroad, Railroad's obligation to serve Industry shall
                      be subject to any restrictions on operations on such trackage, and to the
                      continued existence in place and ina.intenance of such trackage.

                              12. Industry is he~eby permitted, during the term of this agreement,
                      to operate ov.er the solid red track, orange track, and dashed red track for
                      purposes of delivery or rec-eipt of cars shipped by or consigned to it. Rail-
                      road shall deliver cars to or receive cars from Industry on said tracks subject
                      to any lawful charges that may be made by Railroad fo~ such service.

                               13. It is understood that the movement of railroad locomotives
                      involves some risk of fire, and Industry assumes all responsibility for and
                      agrees to indemnify Railroad against loss or damage to property of Industry
                      or to property upon its premises, arising from fire caused by locomotives
                      operated by Railroad on said track or in its vicinity for the purpose of
                      serving lnduE;try, except to the premises of Railroad and to rolling stock
                      in its possession, and to shipments in the course of transportation.

                                     Industry also agrees to indemnify and hold harmless Railroad
                      for loss, darnage or injury from any act or omission of Industry, Industry's
                      employees or agents, to the person or property of the parties hereto and
                      their employees, and to the person or property of any other person or
                      corporation, while on or about said track, and if. any claim or liability
                      other than arising under Sections 16 and 18 shall arise from the joint or
                      concurring negligence ef Railroad and Industry, it shall be borne by them
                      equally.

                              14.   Industry agrees that:
                                     Industry will comply with clearance regulations prescribed
                      by the public body having jurisdiction in the matter and with walkway standards
                      as delineated on the chart attached, marked Exhibit "A-1" and hereby made
                      a part hereof.




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                                 . A minimum overhead clearance of twenty-seven (27) feet,
                     measured vertically above tops of rails, shall be observed for wires over
                     or across any track and for a distance of at least eight (8} feet six (6) inches
                     from the center line of such track; subject, however, to statutes o:r orders
                     of competent public authority having jurisdiction in the premises.

                                   If, by statute or order of competent public authority having
                     jurisdiction in the premises, greater clearances or other standards than
                     those prescribed shall be required, Industry shall strictly comply with such
                     statute or order.
                                                                                ;
                                    All doors, windows or gates of any building or enclosure shall
                     be of the sliding type or shall, when opened, be swung away from the Track
                     when such building or enclosure is so located that said doors, windows, or
                     gates if opened toward the Track would, when opened, be at clearances in
                     violation of the clearances prescribed.

                                     Notwithstanding anything herein contained, no structure,
                     material, pole, cable, wire, conduit, pipe, opening, excavation or obstruc -
                     tion of any l<lnd or character shall be erected, piled, made, stored, or
                     maintained by Industry upon or over the pren'li.ses of Railroad or beneath
                     any track upon the premises of Railroad, without the written consent of
                     Railroad first had and obtained. Further, no pipe, pole, wire, conduit,
                     \Ulderground structure, opening, or excavation of any kind whatsoever shall
                     be made or placed beneath any track, or within ten (10) feet thereof, beyond
                     the premises of Railroad without first giving Railroad written notice thereof.

                                    Industry shall at all times keep the pathway for trainmen and
                     the walkway as prescribed and as shown on Exhibit "A-1", and the area between
                     the rails free and clear of debris and/or obstructions of any kind or nature
                     and whether due to the operations of Industry or Railroad, or both, or to the
                     loading or unloading of cars on said Track. The indemnification hereinafter
                     provided for in this section shall apply whether or not Railroad has notice or
                     alleged notice of any violation by Industry of Indq.stry 1 s duty to keep said area
                     clear of debris and obstructions.

                                   Industry agrees that under no circumstances shall any gun-
                     powder, dynamite or other explosive material be piled or stored by Industry
                     or others upon the premises of Railroad.

                                   Prior to using said Track for loading, unloading or storage of
                     flammable liquid with flash point at or below 100 degrees Fahrenheit, non-
                     flammable compressed liquefied gas, flammable compressed gas or other
                     regulated hazardous material, Industry shall first secure the written permission




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                     of Railroad for the specific material or materials. Industry shall comply
                     with Railroad's rules governing, which will be furnished by Railroad to
                     Industry upon request.

                                    In the event of leakage or spillage, Industry shall, at its own
                     expense, promptly clean Railroad's premises to the satisfaction of Railroad,
                     the Environmental Protection Agency and/or any public body having juris-
                     diction in the matter. Should any such leakage or spillage result in a fine,
                     penalty, cost or charge being suffered or incurred by Railroad, Industry
                     shall promptly and fully reim.bur se and indenmify Railroad for or on account
                     thereof.                                                    /

                                    Industry agrees to indemnify and save harmless Railroad from
                     all loss, damages, penalties, costs or judgments that may be assessed
                     against or recovered from Railroad on account of or in any manner growing
                     out of the violation of this section. The term 11Railroad 11 as used in this
                     paragraph shall include the affiliated companies of Railroad and any other
                     railroad company operating on said Track with the consent of Railroad.

                             IS. If required, hl.dustry shall, at its expense and to the satisfaction
                     of Railroad, install and maintain derail or derails on Industry's portion of
                     said Track.

                             16. Industry is hereby permitted to move cars by means of its own
                     engine and trackmobile not only over the mauve track but also over a.ny of
                     the solid red track, orange track, and dashed red track; provided, however,
                     that whenever Railroad is operating or about to operate on any of said tracks,
                     Industry shall move said engine or trackm.obile from that particular track to
                     such location as to provide for said track the clearances prescribed herein,
                     and shall clear such track of all cars as to give an unobstructed area for
                     switching operations; provided, further, that Industry shall not at any time
                     leave any cars standing on such portion of any of said tracks as to impair
                     the prescribed clearances for the adjacent track.

                                     The operation of said engine or trackmobile by Industry shall
                     be subject to all applicable federal and state laws, and all applicable rules,
                     regulations, and orders promulgated by any mwiicipality, board, conunission,
                     or governmental agency having jurisdiction in the matter. Should any violation
                     by Industry of such applicable laws, rules, regulations, and orders result in
                     a fine, penalty, cost, or charge being suffered or incurred by Railroad,
                     Industry shall promptly and fully reimburse and indemnify Railroad for and
                     on acco'Wl.t thereof. Industry shall indemnify, protect, and save harmless
                     Railroad from and against all loss, damages, cost, and expense and consequence
                     of death of or injury to persons whomsoever, and loss or destruction of or




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                      damage to pr.operty whatsoever and to whomsoever belonging, in. any manner
                      caused by, resulting from, or incidental to the existence, inaintenance, use
                      or operation of engine or track mobile, or the movement by Industry, its
                      agents, servants or employees, of any car or cars on track, or Industry's
                      failure to place and keep engine and track mobile as hereinabove provided,
                      or by reason of Industry's failure to set the brakes or block the wheels of
                      any car or cars after movement thereof by Industry, its agents, se·rvants
                      or employees regardless of the negligence of Railroad.

                               17. In the event there is installed or used a gate, fence on premises
                      of Railroad, door, unloading pit, scale~ car-moving devi~ (other than one
                      covered by Section 16 above), or any loading or unloading device across, over,
                      bent~ath, on, or adjacent to said Track, Industry shall, whenever said
                      facilities are not in use and when Railroad is operating or about to operate
                      on said Track, cover, open, remove or retract a.nd securely fasten such
                      facilities to such position as to provide clearances prescribed herein and
                      align the deadrail, if any, of said scale with said Track so as to permit
                      operation by Railroad thereover or shall install an operating limit sign if
                      the scale will not permit operation thereover by Railroad. Said facilities
                      shall be installed and maintained by Industry, at its own expense and to the
                      satisfaction of Railroad, and in conform.a.nee with any ordinance, rule, or
                      regulation of any public body having jurisdiction in the matter. Said facilities
                      shall not be installed across, over, on or adjacent to trackage of Railroad
                      or beneath said Track, nor shall any door be installed across said Track
                      without the prior written approval of Railroad.

                                    Said gate or door may be opened and fastened by employees
                      of Railroad or of Industry as their local representatives may from time to
                      time agree; provided, however, that Railroad shall not be obligated to open
                      said gate or door, and, upon request of Railroad, Industry shall open and
                      fasten said gate or door as herein provided.

                                    In lieu of covering said pit as herein provided, Industry may
                      install and maintain such grill cover thereover as may be approved by the
                      public body having jurisdiction in the matter.

                                     Industry hereby releases and agrees to indemnify Railroad,
                      its agents, successors, and assigns, from all liability, cost, and expense
                      (including, but not limited to, loss of or damage to the property of either
                      party and injury to or death of agents or employees of either party) resulting
                      from the construction, reconstruction, presence, m.aintenance, use, or
                      removal of said gate, fence, door, unloading pit, car-moving device {other
                      than one covered by Section 16 above), scale, or loading/unloading device,




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                           except when ~ue to the sole negligence of Railroad. Industry further
                           releases and agrees to indemnify Railroad from any liability, cost, or
                           expense resulting from failure or alleged failure of the representatives
                           of Railroad to close said gate. The term 11Railroad 11 as used in this
                           paragraph shall include the affiliated companies of Railroad and any other
                           railroad company operating on said Track with the consent of Railroad.

                                         Should it become necessary at any time in the future, due
                           to changes in said Track, or for any other reason, to remove, reconstruct,
                           alter or change the location of said facility or facilities, Industry shall,
                           at its own expense, make such changes as m.ay be necessa,ty.

                                         Upon termination of this agreement, Industry shall promptly
                           remove said facilities from Railroad's premises and restore said premises
                           at its own expense and to the satisfaction of Railroad.

                                    18. ·A. Industry may, at its sole cost and expense, and for its
                           sole convenience, construct, maintain, and use the road crossings that cross
                           Industry's portion of track at the points shown on print. Industry··shall
                           indemnify, protect, and save harmless Railroad from and against all loss,
                           darr..ages, cost, and expense in consequence of death of· or injury to persons
                           whomsoever, and loss or destruction of or damage to property whatsoever
                           and to whomsoever belonging, in any ll"lanner arising out of, caused by,
                           resulting from or incidental to the construction, maintenance, existence
                           or use of Industry's road crossings regardless of the negligence of Railroad.

                                          B. Industry agrees to post or place octagonal stop signs at
                           each road crossing of track. Industry further agrees to place one such
                           octagonal stop sign 011 each side of track at each road crossing. Industry
                           further agrees that ea.ch octagonal stop sign is to be reflectorized or con-
                           structed of a reflective material so that it is easily discernible by vehicular
                           traffic at night.

                                    19. Railroad may rearrange or reconstruct the Track or modify
                           the elevation thereof whenever necessary or desirable in connection with
                           the improvement of its .property or changes in its tracks at or near the location
                           of said Track; provided that Industry shall continue to have similar trackage,
                           without additional cost to Industry. In the event, however, that a rearrange-
                           ment or reconstruction of the Industry's portion of said Track, or modification
                           of the elevation thereof, is required by reason of or as a result of any law,
                           ordinance, order, permit, regulation, or other public enactment, or by
                           reason of the happening of any contingency over which Railroad has no control,
                           then Industry shall bear the cost of such rearrangement, reconstruction, or
                           modification. Nothing in this section contained shall in any way affect the
                           right of Railroad to terminate this agreement under the conditions hereinafter
                           set forth.


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                              20. Railroad shall have the right to disconnect said Track or refuse
                      to operate over same, and in either case this agreement at the option of
                      Railroad shall terminate in the event that (a) Industry shall cease to do
                      business on said Track in an active and substantial way f.or a continuous
                      period of one (l) year, unless prevented from so doing by law, strikes, or
                      any causes beyond the control of hidustry; {b) Industry shall fail to observe
                      and perform each and every covenant and promise herein contained which
                      is by Industry to be observed and performed; or (c} Railroad is required
                      or authorized by law, ordinance or police regulation, or order of any law-
                      fully constituted public authority having jurisdiction in the premises, to
                      discontinue operation of said Track, or to change its tracN!i in such manner
                      as to render it impracticable, in the judgment of .Railroad, to continue to
                      operate said Track.

                              21. This agreement is not to be construed as extending, altering,
                      amending, modifying, or forming part of any instrum.ent in writing between
                      the parties hereto, or their predecessors or successors in interest, with
                      respect to the use by Industry, or its successors in interest, of any premises
                      of Railroad or its lessor.

                              22. This agreement is made in full contemplation of all applicable
                      restrictive orders and regulations of the United States Government now or
                      hereafter in effect, and, accordingly, it is expressly conditioned upon the
                      ability of Railroad, after active endeavor in which Industry shall fully co -
                      operate, to secure and furnish labor and materials and to secure any necessary
                      authority to perform the work.

                              23. In order for Industry to properly ass\Ulle responsibility for and
                      control cars placed on said Track, Railroad hereby leases to Industry for
                      construction, maintenance, and use of said Track the premises of Railroad
                      underlying Industry's portion of said Track.

                              24. The effectiveness of this agreement shall be contingent upon the
                      execution of the agreement mentioned in Section 8 above and the easement
                      mentioned in Section 6.

                             25. The term 11Railroad 11 as used herein shall refer to Cotton Belt
                      and Frisco, jointly and severally.

                             26. This agreement shall be binding upon the heirs, executors,
                      administrators, successors, and assigns of the parties hereto.




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                                                       l
          .   STATE OF CALIFORNIA
              City and County of San Francisco         5 a.
     1·             On this   / ;,t9   day of                    ~M"A1'4cf'-C.. in the year One Thousand Nine Hundred and                 .~eveni, ~1164/
     1.       before me, ROUT. J- BUSHNER. 11 Notary Public in and for th11 Cily and County of San Fra1u:iJco, Slate of California, personall1 appeared
     I                             (OneMarketSt.)                           .I,. J. §t.~KG                 AN)> ""f. f': (!}'])ov¥6L.J-

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                               ROBT.J.IUSHNER
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                         ftttlffCN>AI. •l.ACI Ofl 8USlllllH IN
                                 CIT\' AND COUltf'r ef
                                  SAN FllANCISC&
                         ., Cl•lllGll """' IWIJ ll, 1'71
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                                                                     of the corpOTation_described in a11d that executed the within instrument, 1nid alto lt.nown
                                                                     to me to b~ :!Z:rson..!'L.who exet:uled it c:.n behalf of the corfJOTation-=._1herein named
                                                                     a11d4hedlmowledged to 11111 tltat s11cl1 corporation .,... Wecuted the 1ame.

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                                                                                            HEREO , I    ve hl!Teunlo set my hand and affi:ud    m' oOi£ial ulll
                                                                                            and C nty of an Frati · o, the day and year in thil certi{i&4te first


                                          Corporation


              My Commission Expires July 11, 1978




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                                            Case 3:15-cv-00166-JLH Document 27 Filed 05/04/16 Page 19 of 23
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    '
                                                IN WITNESS WHEREOF, the parties hereto have executed this

                            agrE~ement,                in triplicate, the day and year first above written.



                                                                                 ST. LOUJS SOUTHWESTERN
                                                                                   RAILWAY COMPANY


                                                                                       ~
                                                                              By~~~~........----------~~~
                                                                                    Title : Manager, Contract Dept


                                       ASSISTANT. Secretary


                                                                                 ST. LOUIS - SAN FRANC JS CO
                                                                                    RAILWAY COMPANY




                          , • '':!;.::;..
                                     "",
                                '-!"        ;
                                                                                 ARKANSAS RICE GROWERS
                                                                                   COOPER TIVE ASSOCIATION,
                                                                                 d/b/       d Foods


                                                                                                                                                                                                  '



                    ~                                  Secretary

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                                  "'71 .11




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                   Form Apu;-o;-;d:

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                                                                                             EXHIBIT A-I                                                        CS3595 {4)
                 ' ...                                                (STATES OTHER THAN CALIF., ARIZ. 1 OREGON)



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                         SECTION 8-8 {SUBGRAOE LEVEL WALKWAY)
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                                                                                                    1 CAR SPOT      I
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                         SECTION A-A (TIE LEVEL WALKWAY)
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                                    TYPICAL TURNOUT
                                     o ice wore '


                                                                 I_ For roadbed details see drawi no CS500,513 or 515


            . . -                   LEGEND
                           1111 Tl• Level Walkwoy
                                                                 2. Tie level walkways shall be provided adjacent to oll yard tracks,
                                                                    turnouts, ond portions of industriat tracks where trainmen normally




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                                                                    work on the ground.     ·
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                                                                                                                                          REQUIREMENTS FOR WALKWAYS
              ..           w:::::;:'.:l.subgrode Level Wolkway   3. At turnouts and car spots tie level walkways shall utend minimum         ADJACENT TO TRACKS

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                                                                    distance of 50' in advance of the point of switch and beyond the        STATES HAVING NO REGULATIONS
                                                                    clear point and on each side of the car spot, where opplicoble .
                                                                 4. Wolkwoy approaches ond transition slopes shall not uceed I to 8.
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                                                                  Pine Bluff - May 12, 1978
                                                                  125-137-A

                      Mr. A. A. Shapiro, Manager
                      Central Services, REU1IS
                      One Market Plaza, Room 507
                      San Francisco, CA 94105
                                   Attached for REIMIS input is original SSW Document Audit No.
                      T-7200, between St. Louis Southwestern Railway Company, St. Louis San
                      Francisco Railway Company and Arkansas Rice Growers Cooperative Assoc-
                      iation dba Riceland Foods.
                                   This agreement covers trackage serving industry at Jonesboro,
                      Arkansas, Mile Post TCT-125.26-R.




                                                                               ~
                                                                  J. W. Blasingame


                      WEH/rb
                      Attach.
                      cc :    W. F. Reed
                              L. J. Reddick
                              L. R. Harris
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                         Case 3:15-cv-00166-JLH Document 27 Filed 05/04/16 Page 23 of 23




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                                         10924 JOHN GALT BLVD.
                                           OMAHA, NE 68137
                                             (402) 339-6111
